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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISANA

In Re: Oil Spill by the Oil Rig          *        MDL NO. 2179
       “Deepwater Horizon” in the        *
       Gulf of Mexico, on April 20, 2010 *        SECTION: J
                                         *
                                         *
                                         *
       This Document Relates To:         *        JUDGE BARBIER
       Case No. 2:10-cv-08888-CJB-SS *
       Doc No. 47293                     *        MAGISTRATE JUDGE SHUSHAN
       Short-Form Joinder of             *
       Dana James                        *
                                         *
*************************

                                          ORDER

Considering the foregoing Motion to Withdraw as Counsel:

   IT IS ORDERED that J. Parker Miller and the law firm of Beasley Allen, Crow, Methvin,

Portis & Miles, P.C., be allowed to withdraw as Counsel for Dana James.

   This the _______ day of _______________, 2012.



                                                  ____________________________________
                                                  UNITED STATES DISTRICT JUDGE
